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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF                                           CIVIL ACTION
 PENNSYLVANIA AND STATE OF NEW
 JERSEY,

                       Plaintiffs,
                                                           NO. 17-4540
               v.

 DONALD J. TRUMP, ALEX M. AZAR II,
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,
 STEVEN T. MNUCHIN, UNITED
 STATES DEPARTMENT OF THE
 TREASURY, RENE ALEXANDER
 ACOSTA, THE UNITED STATES
 DEPARTMENT OF LABOR, AND THE
 UNITED STATES OF AMERICA,

                       Defendants,

 LITTLE SISTERS OF THE POOR
 SAINTS PETER AND PAUL HOME,

                       Defendant-Intervenor.



                                          ORDER

       AND NOW, this 6th day of March, 2019, upon consideration of Federal Defendants’

Motion to Stay Proceedings Pending Appeal (ECF No. 143) and Plaintiffs’ opposition thereto

(ECF No. 152), it is HEREBY ORDERED that the Motion is DENIED.

       IT IS FURTHER ORDERED, in light of the Court’s February 28th, 2019 order

providing Defendants until March 29, 2019 to answer or otherwise respond to Plaintiffs’

Amended Complaint, that Federal Defendants’ Motion for an Extension of the Deadline to
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Answer or Otherwise Respond to the Amended Complaint (ECF No. 144) is DENIED AS

MOOT.


                                             BY THE COURT:


                                              /s/Wendy Beetlestone, J.

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                                             WENDY BEETLESTONE, J.




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